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  UNITED STATES BANKRUPTCY COURT
  FOR THE DISTRICT OF NEW JERSEY ______
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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  In re:                                                   Case No.: 13-38118 (MBK)

  JOHN M. MAVROUDIS                                        Chapter 7

                        Debtor.                            Hearing Date: October 31, 2016

                                                           Judge: Hon. Michael B. Kaplan

                                                           ORAL ARGUMENT REQUESTED

 CERTIFICATION IN OPPOSITION TO MOTION TO VACATE AUTOMATIC STAY
 OF SPECIALIZED LOAN SERVICING LLC, AS SERVICING AGENT FOR MOVANT,
    THE BANK OF NEW YORK MELLON F/K/A/ THE BANK OF NEW YORK, AS
       TRUSTEE FOR CHL MORTGAGE PASS-THROUGH TRUST 2003-J9!

 I, JOHN M. MAVROUDIS, being of full age, hereby certify as follows:

           1.   I am an attorney-at-law of the State of New Jersey, and the Debtor in the within

 Bankruptcy. I am fully familiar with all of the facts and circumstances of the loan serviced by

 the movant and the property.

           2.   I make this certification in opposition to the motion of Specialized Loan Servicing

 LLC, as Servicing Agent for the Bank of New York Mellon, f/k/a/ The Bank of New York, As

 Trustee for CHL Mortgage Pass-Through Trust 2003-J9 (hereinafter the “Movant”). The

 property covered by the first mortgage loan in this matter is a free standing luxury condominium

 unit located at 37A Sun Bowl Ridge Road, Stratton Mountain, Vermont (the “Property”).!




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         3.      Movant application to vacate the automatic stay should be denied on the basis

 that, as more particularly hereinafter set forth, as follows:!

                 (a) Movant as first mortgage lien holder and a creditor of the Debtor

         is adequately protected by the value of the Property;!

                 (b) the Debtor proposes to seek modification of the loan under

         available federal mortgage loan relief programs such as the Home Affordable

         Modification Program (“HAMP”) or other similar available federal relief

         provided under the Emergency Economic Stabilization Act of 2008, which

         would result in Debtor’s payment of the claim, which programs are currently

         set to expire on December 31, 2016; !

                 (c) a denial of the Movant’s application at the present time is in the

         interest of justice in order to avoid a multiplicity of legal actions in different

         states which will further needlessly burden the Courts and the Debtor; !

                 (d) a denial of the Movant’s application at the present time will

         provide the Debtor with an opportunity to investigate and potentially

         challenge the unpaid principal balance claimed by the Movant, which, as a

         consequence of the widely reported fraudulent actions of Countrywide Home

         Loan Bank and federal regulatory actions, fines and legal precedent, may be

         the subject significant modification;!

                 (e) Movant has failed to take any action regarding this matter and the

         Property for a period of more than five (5) years after default, which has

         permitted the Debtor to address the many other issues in regard to this

         Bankruptcy. After such an extended delay, Movant should not now be heard




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         to complain that it will be prejudiced by a six month period to address this

         matter without resort to expensive litigation in Courts of other jurisdictions. !

         4.      In regard to paragraph 3(a) above, we submit that the Certification of Amil

 Mckernan, dated July 28, 2016 (the “McKernan Certification”), at ¶ 1 indicates that the amount

 claimed to be due to the Movant first mortgagee is $868,0871, which compares favorably and is

 below the Movant’s real estate valuation in the same certification of $1 Million. Movant is not

 the owner of the second mortgagee which is not a party to this proceeding. Furthermore, the

 principal due of the first mortgage is considerably less at $623,740 with the balances comprising

 interest and other charges.     See ¶ 1 of the McKernan Certification and footnote 1 above.

 Accordingly, on the basis of its own appraisal and fair market valuation of the Property, Movant

 cannot claim to be prejudiced by a delay and denial of the application to vacate the automatic

 stay in this matter.!

         5.      In regard to paragraph 3(b) above, the very purpose of the Emergency Economic

 Stabilization Act of 2008 (the “Emergency Act”) was enacted into federal law to provide relief to

 borrowers such as the Debtor whose properties have dropped in value precipitously due to

 economic conditions. At the present time the Emergency Act expires December 31, 2016, which

 makes quick action regarding this loan even more important. The existing mortgage loans at the

 Property are the type of “bundled loans” created by Wall Street brokers and Countrywide Home

 Loan Bank which were sought to be addressed by the Emergency Act. The denial of the

 Movant’s application is consistent with the intent and purposes of the Emergency Act.!



 1      This total includes a total of $244,347 comprised of interest ($140,234), attorneys fees
 and costs ($24,514) and escrow advances ($79,599), which may be subject to significant
 reduction and/or forgiveness of debt under provisions of the Emergency Economic Stabilization
 Act of 2008 or other Federal Law, thereby further increasing the Movant’s security of its lien on
 the Property.!


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         6.      In regard to paragraphs 3(c) and 3(d), all of the actions and proceedings regarding

 the debtor in this matter were presented to the Courts in the State of New Jersey and were the

 venue for the resolution of the various claims and controversies. Movant’s application would

 result in commencement of foreclosure proceedings in the State of Vermont which is the location

 of the Property. Issues regarding the amounts owed by the Debtor under the guaranty of the

 loans on the Property are still subject to Proof of Claims filed by the lenders on the Property.

 Any dispute would therefore be logically subject to the venue of the Bankruptcy Court. This

 potentially causes undue burden and costs on the Trustee in wrapping up the Bankruptcy Estate

 and also the Debtor, including the large costs associated with a multiplicity of claims and

 lawsuits in different state jurisdictions.

         7.      In regard to paragraph 3(e), the Movant and its predecessor servicing agent, Bank

 of America, have failed to take any action regarding the Property for a period of more than five

 (5) years after default.    During this period of time, I have maintained the Property in good

 condition and state of repair, and I have paid the utilities, maintenance and other costs associated

 with the Property. At the suggestion of counsel for the Movant, I contacted the servicing agent

 for the Movant, Specialized Loan Servicing, LLC, by telephone, at which time I was advised to

 go online to make formal application for a modification. I am in the process of making such

 modification, which requires extensive documentation and submissions. In light of the more

 than five (5) years of inaction by the Movant, I submit that a delay of eight (8) months prior to

 any further litigation would be beneficial to all of the parties in this action and would avoid

 undue burden the Trustee, Debtor and the Courts, which would likely be involved in this matter

 if the same is not resolved within such period of time.




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           8.   The Movant by its own submission to the Court and the certification supporting

 relief from the automatic stay has propounded an analysis of the Property’s “equity cushion”

 which demonstrates the value of the Property after deducting the Movant’s senior secured first

 mortgage loan ranges from $131,913 ($1 Million less $868,087) and $376,260 ($1 Million less

 $623,740) See paragraph 4 of this Certification. Thus the Movant’s lien does not exceed the

 stipulated value of the Property and there is sufficient equity to protect the Movant’s interest. In

 such case, the application to lift the automatic stay should be denied and the Debtor should be

 permitted to engage in meaningful discussions with the Movant concerning the modification of

 the first mortgage loan without lifting the automatic stay. Nantucket Inv’rs II v. Cal. Fed. Bank

 (In re Indian Palms Assocs.), 61 F.3d 197 (3d Cir. 1995).          On the basis of the McKenna

 Certification, there van be no dispute that Movant has adequate protection by virtue of its senior

 mortgage loan position on the Property, which should suffice to meet the Debtor’s burden of

 proof. Compare In re Tudor Motor Lodge Assocs. Ltd. P’ship, 102 B.R. 936 (Bankr. D.N.J.

 1989).!

           9.   The circumstance in this case, the interests of judicial economy and the manifest

 federal policy under the Emergency Act provide sufficient grounds for the Court to fashion a

 remedy which could involve (i) a current denial of the Motion without prejudice, and (ii) the

 Movant’s right to refile its application in eight (8) months in the event the modification of the

 loan under the Emergency Act or otherwise is unsuccessful. Such relief would permit the parties

 in good faith to address a modification of the loan without the costly expense of a foreclosure

 proceeding in Vermont. See In re Morysville Body Works, Inc., 86 B.R. 51 (Bankr. E.D. Pa.

 1988). Clearly, such a remedy is equitable and within the jurisdiction of the Court especially in




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